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                                                                              United States District Court
                                                                                Southern District of Texas

                          UNITED STATES DISTRICT COURT
                                                                                   ENTERED
                                                                                   April 25, 2024
                           SOUTHERN DISTRICT OF TEXAS
                                                                                Nathan Ochsner, Clerk
                               HOUSTON DIVISION

TIFFANY MILAN INVESTMENTS, LLC, §
                                §
      Plaintiff,                §
VS.                             § CIVIL ACTION NO. 4:24-CV-962
                                §
MERCHANTS MORTGAGE & TRUST §
CORPORATION, LLC,               §
                                §
      Defendant.                §

                              ORDER TO SHOW CAUSE

        On March 29, 2024, the Court sent notice to all parties to attend a pre-motion
conference on April 2, 2024 before Magistrate Judge Andrew Edison. (Dkt. 10). Counsel
for Plaintiff did not appear at the pre-motion conference. (Dkt. 11). Judge Edison then
ordered counsel for Plaintiff “to file a letter in writing by 5 p.m. on Wednesday, April 3
explaining why sanctions should not be imposed upon him for his failure to attend the
hearing.” (Dkt. 12).
        Counsel for Plaintiff did not file a response to Judge Edison’s order. Accordingly,
counsel for Plaintiff is ORDERED to appear for a show cause hearing before the
undersigned judge by Zoom at 12:00 p.m. on April 26, 2024. Failure to appear may
result in the case being dismissed for want of prosecution.
The Zoom link is:
      h ps://www.zoomgov.com/j/1603195595?pwd=TzB1aTNFcVJuSzBKSVJpLzczUVcvUT09

                                 Mee ng ID: 160 319 5595
                                     Passcode: 397976
                                  Dial‐in: 1‐669‐254‐5252


         SIGNED at Houston, Texas on April 25, 2024.

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                                                      GEORGE C. HANKS, JR.
                                                  UNITED STATES DISTRICT JUDGE


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